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AO 458 (Rev. 06/09) Appearance of Counsel


                                          UNITED STATES DISTRICT COURT
                                                                            for the
                                                            District District
                                                        __________   of Massachusetts
                                                                              of __________

American Association of University Professors-Harvard
Faculty Chapter, and American Association of University Professors             )
                                 Plaintiff                                     )
                                    v.                                         )        Case No.        1:25-cv-10910-ADB
  United States Department of Justice et al.                                   )
                                Defendant                                      )

                                                          APPEARANCE OF COUNSEL

To:        The clerk of court and all parties of record

           I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

        Plaintiffs American Association of University Professors-Harvard Faculty Chapter, and American Association of University Professors.       .


Date:      4/16/2025                                                                                /s/ Julie Singer
                                                                                                                  Attorney’s signature

                                                                                          Julie Singer (NY Bar No. 5647334)
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                                 CERTIFICATE OF SERVICE

       I hereby certify that this document, filed electronically through the Court’s CM/ECF

system, was sent electronically to the registered participants as identified on the Notice of

Electronic Filing (NEF).



Dated: April 16, 2025

                                                      /s/ Julie Singer
                                                      Julie Singer
